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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


    BRITTANY MOORE, ET AL.                                                          CIVIL ACTION

    VERSUS                                                                                NO: 20-217

    MW SERVICING, LLC, ET AL.                                                       SECTION: T(5)




                                              ORDER

        Before the Court is a Motion to Decertify Collective Action filed by Defendants MW

Servicing, LLC, WBH Servicing, LLC, Bruno, Inc., and Joshua Bruno (“Defendants”). 1 Brittany

Moore, Dmitry Feller, Jada Eugene, Christopher Willridge, and the five opt-in Plaintiffs

(“Plaintiffs”) have filed an opposition. 2 Defendants filed a reply. 3 For the reasons set forth below,

the Court will grant the Motion to Decertify Collective Action.

        This matter arises from allegations of unpaid wages in violation of the Fair Labor Standards

Act (“FLSA”) 4 and the Louisiana Wage Payment Act (“LWPA”). 5 In November 2019, Plaintiff

Moore began working as an Assistant Property Manager of the Oakmont Apartments, a multi-unit

complex owned and operated by Defendants. Plaintiff Moore resigned a month later citing

understaffing and unsafe conditions at the complex. Plaintiff Moore claims she never received her

final paycheck despite repeated procurement efforts. This suit followed, with three additional

plaintiffs joining shortly thereafter alleging, inter alia, that they, too, did not receive a final



1
  R. Doc. 142.
2
  R. Doc. 174.
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  R. Doc. 182.
4
  29 U.S.C. § 206.
5
  La. Rev. Stat. §§ 23:361-32

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paycheck. 6 The four named Plaintiffs moved this Court to bring this action collectively on behalf

of former employees of Defendants who worked at a Metrowide Apartment location who were

terminated, resigned, or separated from employment at any time since May 5, 2017 and were not

paid a final paycheck, or salaried current or former employees of Defendants who worked at a

Metrowide Apartments location, who despite being paid salary were required to track time and

had time deducted from their paychecks based on the number of hours performed. 7 Following

conditional certification, eight additional opt-in plaintiffs joined the collective action. Two have

since been dismissed without prejudice. 8

         Defendants now move to decertify this collective action asserting Plaintiffs are not

sufficiently similar to justify collective action in that Plaintiffs held different positions, worked at

different locations, had different pay structures, and Defendants have different defenses to each of

their claims. 9 Plaintiffs contend that they were all subject to a common policy or plan by

Defendants which, in the interest of judicial economy and fairness, should be adjudicated

together. 10

                                       APPLICABLE LAW

         The FLSA provides an avenue for employees to sue an employer for FLSA violations

through a collective action on behalf of themselves and “other employees similarly situated.”11

The purpose of such a remedy, as prescribed by Congress, is “to avoid multiple lawsuits where

numerous employees have allegedly been harmed by a claimed violation or violations of the FLSA



6
  R. Doc. 21.
7
  R. Doc. 96.
8
  R. Doc. 157.
9
  R. Doc. 142.
10
   R. Doc. 174.
11
   29 U.S.C. § 216(b).

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by a particular employer.” 12 District courts have broad discretion in deciding whether to grant or

deny certification and broad authority over notice in order to prevent the misuse of such actions.13

        Prior to 2021, the generally accepted approach in this Circuit when determining whether

to certify a collective action under 28 U.S.C. § 216(b) was outlined in Lusardi v. Xerox Corp.14

The Lusardi approach consisted of a two-stage certification process beginning with a “notice”

stage and a second “decertification” stage. 15 The first stage involves a Court’s determination of

whether to “conditionally” certify a collective action and authorize notice to potential class

members. 16 The second stage reanalyzes the conditional certification and allows for decertification

if there is a showing that the case is not appropriate for consideration as a collective action. 17 Such

decertification is warranted if the collective plaintiffs are not “similarly situated.” 18

        In 2021, the Fifth Circuit partially rejected the Lusardi approach in Swales v. KLLM

Transport Services, L.L.C. 19 In Swales, the Court focused on issues with the first stage of

Lusardi, 20 which has passed in this case. Since then, the Fifth Circuit has explained: “While Swales

rejected Lusardi’s two-step method of ‘conditional certification’ and notice followed by a motion

to decertify, courts may still find it useful to consider the Lusardi factors to help inform or guide

the similarly situated analysis given the similarities between Swales and Lusardi’s second step.”21




12
   Sandoz v. Cingular Wireless LLC, 553 F.3d 913, 919 (5th Cir. 2008) (quoting Prickett v. DeKalb Cnty., 349 F.3d
1294, 1297 (11th Cir. 2003)); see also Loy v. Rehab Synergies, L.L.C., 71 F.4th 329, 336 (%th Cir, 2023).
13
   See Hoffman-LaRoche Inc. v. Spearling, 493 U.S. 165, 170 (1989).
14
   Lusardi v. Xerox Corp., 116 F.R.D. 351 (D.N.J. 1987). See Xavier v. Belfor USA Grp., 585 F. Supp. 2d 873, 876
(E.D. La. 2008) (describing the Lusardi approach as the “preferred method”).
15
   Id.
16
   Id.
17
   Id.
18
   Id.
19
   Swales v. KLLM Transport Services, L.L.C., 985 F.3d 430 (5th Cir. 2021).
20
   Id. at 439.
21
   Loy, supra, at 336-37 (citing Badon v. Berry’s Reliable Res., LLC, No. 2:19-cv-12317, 2021 WL 933033 (E.D.
La. Mar. 11, 2021)).

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The Court further explained that “use of these factors is not mandatory, as there is no one-size-

fits-all analysis or mechanical test to apply: ‘The bottom line is that the district court has broad,

litigation-management discretion,’ ‘cabined by the FLSA’s ‘similarly situated’ requirement.’” 22

The burden of proving that the plaintiffs and opt-ins are similarly situated remains with the

plaintiff. 23

         The question before the Court at this stage is whether the Plaintiffs and Opt-Ins are

sufficiently “similarly situated” as to proceed with a collective action. To determine if the plaintiffs

and opt-ins are similarly situated in a collective action, courts may consider three factors: “(1)

disparate factual and employment settings of the individual plaintiffs; (2) the various defenses

available to defendant which appear to be individual to each plaintiff; [and] (3) fairness and

procedural considerations.” 24 “The more dissimilar the plaintiffs’ job experiences are from one

another and the more individual an employers’ defenses are, the less appropriate the matter is for

collective treatment.” 25

                                                ANALYSIS

         According to Defendant, there are differences in the factual and employment settings of

each of the Plaintiffs. Seven plaintiffs are allegedly salaried employees while three are hourly

workers. All performed work for various entities (including entities not party to this suit) or Mr.

Bruno personally. Three plaintiffs were property managers at different properties, one was a

leasing agent, one a leasing consultant, one an accounting manager, one an executive assistant,

two janitorial/maintenance workers, and one part-time personal babysitter. The claims vary from


22
   Loy, at 337 (quoting Swales, 985 F.3d at 443).
23
   Swales, supra, at 443 n.65.
24
   Thiessen v. Gen. Elec. Capital Corp., 267 F.3d 1095, 1103 (10th Cir. 2001); See also Moody v. Associated
Wholesale Grocers, Inc., No. 17-10290, 2019 WL 6036707, at *2 (E.D. La. Nov. 14, 2019).
25
   Moody v. Associated Wholesale Grocers, Inc., No. 17-10290, 2019 WL 6036707, at *2 (E.D. La. Nov. 14, 2019).

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plaintiff to plaintiff, with some alleging they were not paid overtime while others allege they were

not paid due bonuses or commissions. Some allege they did not receive their final paychecks while

others did receive the paychecks but after the 15-day deadline set forth in the LWPA. Defendants

assert that, due to the individualized nature of each plaintiff’s claims, individualized defenses are

asserted and warranted. For example, Defendants assert different statutory exemptions for each of

the purported salaried workers and defenses for hourly workers who allege they were docked

wages improperly. Defendants maintain that certain plaintiffs cannot make a prima facie showing

of their FLSA claims.

           Plaintiffs counter that in the interest of fairness and procedural concerns, this matter should

move forward as a collective action. First, they argue that maintaining a collective action would

negate the need for several individual trials, resulting in more delay to Plaintiffs after “several

Covid-related delays.” 26 Plaintiffs next argue that the questions of FLSA applicability, salary

status, good faith and willfulness of the Defendants, and joint employer and individual personal

liability are common to all claims and necessitate resolution via collective action.

           Defendants maintain that using possible FLSA applicability as the basis of collective action

would require that all FLSA claims by employees of a common employer in the future to move

forward as collective actions. Plaintiffs do not, and cannot, cite to authority requiring collective

action for FLSA applicability of employees by a common employer. However, as the Fifth Circuit

emphasized, it is within the court’s “broad, litigation-management discretion” to permit collective

action.




26
     R. Doc. 174.

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           Defendants further argue that the salary status of each plaintiff is individualized, as the

individual statuses are disparate with some plaintiffs being salaried while others were paid hourly.

While Plaintiffs disagree with this assertion, their disagreements over each Plaintiff’s salary status

are necessarily individualized. The parties are diametrically opposed with regard to whether the

purportedly salaried employees were in fact salaried, as Plaintiffs contend both hourly and salaried

employees had to fill out timesheets and wages were subject to deduction based on those

timesheets. 27

           Defendants’ good faith and willfulness also requires individualized proof for each Plaintiff.

Plaintiffs have not yet made a showing of a common policy or plan by Defendants to act in bad

faith. Nor have Plaintiffs established joint employment as to each plaintiff. And, given the varied

employment settings of the individual Plaintiffs, whether each defendant satisfies the requisite

economic reality test with respect to each plaintiff must be proven on an individual basis.28

Plaintiffs also seek to hold the Defendants jointly liable as an “enterprise” under the common

control of Bruno himself, as according to Plaintiffs each of the entities are shell companies under

Bruno, Inc., owned and operated by Bruno. These are all issues best left to a jury, as the Court has

previously denied motions for summary judgment, and they are not necessarily amenable to

collective action given the disparate employment situations and individualized defenses. While the

Court agrees that some common issues may overlap among the plaintiffs and their claims, there

are other methods of managing this litigation to the benefit of judicial efficency.

                                                   CONCLUSION




27
     See MSJ Memo.
28
     Orozco v. Plackis, 757 F.3d 445, 448 (5th Cir. 2014).

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         In sum, after reviewing the briefs, the record, and the relevant law, the Court finds that a

single trial of all plaintiffs’ and their claims would result in confusion both for the jury and

management of the trial itself. The benefits of a collective action under the FLSA would not be

present here. 29 Accordingly, the Court will grant the Motion to Decertify the Collective Action.

         Accordingly, IT IS ORDERED that the Motion to Decertify the Collective Action is

GRANTED. 30

         New Orleans, Louisiana, this 2nd day of August 2023.




                                                                ___________________________
                                                                    Hon. Greg Gerard Guidry
                                                                   United States District Judge




29
   As the Fifth Circuit explained in Loy: “A collective action allows [FLSA] plaintiffs the advantage of lower
individual costs to vindicate rights by the pooling of resources. The judicial system benefits by efficient resolution in
one proceeding of common issues of law and fact arising from the same alleged [unlawful] activity.” 71 F.4th at 336
(citations omitted).
30
   R. Doc. 142.

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